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                         IN THE UNITED STATES BANKRUPTCY COURT
                              OF THE DISTRICT OF DELAWARE


In re:                                                         Chapter 7

Start Man Furniture LLC (f/k/a Art Van                         Case No. 20-10553 (CTG)
Furniture, LLC), et al.,1                                      (Jointly Administered)

                            Debtors.                           Hearing Date: 9/14/2023 at 10:00 a.m. (ET)
                                                               Objection Deadline: 9/6/2023 at 4:00 p.m. (ET)



           FIRST INTERIM (CONTINGENT FEE MATTERS) APPLICATION FOR
         COMPENSATION AND REIMBURSEMENT OF EXPENSES OF ARCHER &
          GREINER, P.C., AS SPECIAL COUNSEL TO THE CHAPTER 7 TRUSTEE,
               FOR THE PERIOD MARCH 1, 2022 TO SEPTEMBER 14, 2023


Name of Applicant:                                               Archer & Greiner, P.C.

Authorized to Provide Professional Services to:                  Alfred T. Giuliano, Chapter 7 Trustee

Date of Retention:                                               Dec. 10, 2020 (March 1, 2022 on contingency
                                                                 basis)

Period for which Compensation and
Reimbursement is sought:                                         March 1, 2022 through Sept. 14, 2023

Amount of Compensation Sought
as Actual, Reasonable and Necessary:                             $2,607,245.50

Amount of Expense Reimbursement Sought
as Actual, Reasonable and Necessary:                             $2,397.97

This is an           X      Interim                      Final Application                    Monthly Statement




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include:
Start Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding
Company, Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I,
LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent,
LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada,
LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC) (8968); SVF Franchising, LLC
(f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC
(4463).
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                 PRIOR CONTINGENCY FEE APPLICATIONS FILED

                                            Requested                       Allowed

 Date Filed      Period Covered      Fees          Expenses          Fees          Expenses

N/A


                     PRIOR HOURLY FEE APPLICATIONS FILED

                                            Requested                       Allowed

 Date Filed      Period Covered      Fees          Expenses          Fees          Expenses

8/11/22         Dec. 1, 2020 to   $192,754.50           $148.30   $192,754.50         $148.30
[D.I. 1476]     Feb. 28, 2022


         SUMMARY OF RECOVERIES SUBJECT TO THIS APPLICATION

                   Gross Recovery on Estate       35% of Gross Recovery
                      Causes of Action            less fees previously paid
                        $8,000,000.00                   $2,607,245.50
                                                     ($2,800,000.00 less
                                                     $192,754.50 of fees
                                                       previously paid)


                                  EXPENSE SUMMARY

       Expense Category               Service Provider                Total Expenses
                                       (if applicable)
Photocopies ($0.10/page)                                                       $499.20
Legal Research                    LexisNexis                                   $444.48
Hotels (for mediation in NYC – 2                                               $982.71
people)
Mileage (for mediation in NYC)                                                 $143.04
Parking (in NYC for mediation – 2                                              $183.00
people)
Overnight Courier                 Federal Express                               $145.54
Total Expenses                                                                $2,397.97




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              OF THE DISTRICT OF DELAWARE


In re:                                                         Chapter 7

Start Man Furniture LLC (f/k/a Art Van                         Case No. 20-10553 (CTG)
Furniture, LLC), et al.,1                                      (Jointly Administered)

                            Debtors.                           Hearing Date: 9/14/2023 at 10:00 a.m. (ET)
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           FIRST INTERIM (CONTINGENT FEE MATTERS) APPLICATION FOR
         COMPENSATION AND REIMBURSEMENT OF EXPENSES OF ARCHER &
          GREINER, P.C., AS SPECIAL COUNSEL TO THE CHAPTER 7 TRUSTEE,
               FOR THE PERIOD MARCH 1, 2022 TO SEPTEMBER 14, 2023


          Pursuant to sections 330 and 331 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Local Rule 2016-2, Archer & Greiner, P.C. (“Archer”) files this First Interim (Contingent Fee

Matters) Application for Compensation and Reimbursement of Expenses of Archer & Greiner,

P.C., as Counsel to the Chapter 7 Trustee, for the Period March 1, 2022 through September 14,

2023 (the “Application”). By this Application, Archer seeks allowance of compensation in the

amount of $2,607,245.50 and reimbursement of actual and necessary expenses in the amount of

$2,397.97 for the period March 1, 2022 through September 14, 2023 (the “Application Period”).

In support of this Application, Archer respectfully represents as follows:




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include:
Start Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding
Company, Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I,
LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent,
LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada,
LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC) (8968); SVF Franchising, LLC
(f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC
(4463).
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                                               JURISDICTION

        1.        The Court has jurisdiction over this matter under 28 U.S.C. § 1334. This is a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this chapter 7 case in this

district is proper under 28 U.S.C. §§ 1408 and 1409.

                                               BACKGROUND

        2.        On March 8, 2020, the above-captioned Debtors each filed with this Court a

voluntary petition for relief under chapter 11 of the Bankruptcy Code.

        3.        On April 3, 2020, the Debtors filed a motion to convert their chapter 11 cases to

cases under chapter 7 of the Bankruptcy Code.

        4.        On April 7, 2020, the Court entered an order converting the Debtors’ cases to cases

under chapter 7 of the Bankruptcy Code and the Trustee was appointed as the Chapter 7 Trustee

of the Estates.

        5.        On December 10, 2020, the Trustee filed an application to retain Archer as special

counsel for the Trustee. This application was granted by Order entered December 30, 2020, with

such retention effective as of December 1, 2020 [D.I. 1126].

        6.        On April 5, 2022, the Court entered an Order (the “Supplemental Retention Order”)

[D.I. 1415] approving the Trustee’s supplemental application to retain Archer as contingent

counsel (the “Supplemental Retention Application”).2                   The Supplemental Retention Order

clarified and expanded the scope of the Trustee’s retention of Archer.                         Specifically, the

Supplemental Retention Order authorized the Trustee to retain Archer on a contingency fee basis

to render certain Litigation Services, which included the prosecution and resolution of Estate

Causes of Action.


2
 Capitalized terms used but not defined in this Fee Application have the meanings ascribed to such terms of the
Supplemental Retention Application [D.I. 1398].


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       7.      On behalf of the Trustee, Archer investigated potential Estate Causes of Action,

including potential claims and causes of action against the Debtors’ former insiders. Among other

things, Archer prepared a complaint and, on March 7, 2022, on behalf of the Trustee, commenced

an adversary proceeding against a number of individuals and entities affiliated with the Van

Elslander family (the “VE Parties”), among others, and Richard Kim Yost (“Yost”), entitled

Giuliano v. Archie A. Van Elslander Trust dated November 26, 1982, as Amended, et al., Adv.

Pro. No. 22-50229 (CTG) (Bankr. D. Del.) (the “Adversary Proceeding”), asserting various claims,

including fraudulent transfer and breach of fiduciary duty claims.

       8.      Archer, on behalf of the Trustee, asserted that the Debtors’ estates have certain

claims (collectively, the “THLee Claims”) against (i) Thomas H. Lee Partners, L.P., Thomas H.

Lee Management Co., THL Managers VII LLC, Thomas H. Lee Parallel (Cayman) Fund VII, L.P.,

Thomas H. Lee Equity Fund VII, L.P., Thomas H. Lee Parallel Fund VII, L.P., Thomas H. Lee

Fund VI Coinvestment Partners LP, and THL Executive Fund VII (collectively, the “THLee Entity

Parties”), and (ii) Todd M. Abbrecht, Jeff T. Swenson, Cliff Longley, Douglas A. Haber, Alex

Smith, and David Alexander (collectively, the “THLee Director Parties” and together with the

THLee Entity Parties, the “THLee Parties”). The Trustee did not file a complaint against the

THLee Parties, as they entered into certain tolling agreements with the Trustee.

       9.      Also, on behalf of the Trustee, Archer has entered into tolling agreements with

certain other parties as well.

       10.     On December 19, 2022, Archer, on behalf of the Trustee, participated in a

mediation with the VE Parties, Yost, and the THLee Parties, led by Jed Melnick, Esq. of JAMS.

The mediation continued for several months thereafter. Ultimately, the parties agreed to resolve




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the claims as set forth more fully in the Settlement Agreement, which provides for a payment to

the Estates of $8 million and mutual, general releases.

       11.     On July 27, 2023, the Trustee filed the Motion of the Chapter 7 Trustee for Entry

of an Order Pursuant to Fed. R. Bankr. P. 9019 Authorizing and Approving the Settlement

Agreement and Mutual Release Between and Among the Chapter 7 Trustee and Various Other

Parties Resolving Claims Against Certain Insiders and Others [Main Case D.I. 1583; Adv. D.I.

45] (the “9019 Motion”), seeking the approval of the Trustee’s settlement reached with the VE

Parties, Yost and the THLee Parties.

       12.     On August 23, 2023, the Court entered an Order [Main Case D.I. 1590; Adv. D.I.

50] approving the 9019 Motion.

       13.     Pursuant to the Supplemental Retention Order and Supplemental Retention

Application, Archer is entitled to a contingency fee equal to 35% of the gross recoveries of the

Estate Causes of Action, less fees already received, and reimbursements for reasonable and

necessary out-of-pocket costs and expenses.

                ARCHER’S APPLICATION FOR COMPENSATION AND
                       REIMBURSEMENT OF EXPENSES

       14.     The fees Archer seeks by way of this Application relate to the settlement and

resolution of the Estate Causes of Action. As described in the 9019 Motion, during the Application

Period, Archer negotiated a settlement on behalf of the Trustee with the VE Parties, Yost and the

THLee Parties whereby the Estates receive $8,000,000.00 to resolve the Estate Causes of Action.

Accordingly, Archer is seeking fees in the amount of $2,607,245.50, which equals 35% of the

$8,000,000.00 settlement amount of the Estate Causes of Action, less the $192,754.50 of fees that

Archer already received in these cases. Given that compensation for the Litigation Services is on




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a contingency fee basis, Archer is not required to provide time detail pursuant to the Supplemental

Retention Order.

         15.      A summary of actual and necessary expenses incurred by Archer for the

Application Period in connection with the Litigation Services is set forth above.                            Archer

customarily charges $0.10 per page for photocopying expenses in bankruptcy cases. In addition,

Archer uses outside copier services for high volume projects, and this application seeks recovery

of those costs, if applicable. Archer also charges clients $.95 per page for outgoing facsimile

transactions and does not charge for incoming facsimile transactions. Online legal research (i.e.,

Lexis) is charged at Archer’s discounted cost, which is computed each month based upon the

negotiated discount charge to Archer and the allocations of the savings realized during each month.

Archer believes the foregoing rates are market rates that the majority of law firms charge clients

for such services. The reasonable value of the expenses related to the Litigation Services incurred

by Archer in connection with this matter during the Application Period is $2,397.97.3 A detailed

breakdown of the reimbursable expenses is attached hereto as Exhibit A.

         16.      All services for which Archer requests compensation were performed for or on

behalf of the Trustee. Archer has received no payment and no promises for payment from any

source other than the Trustee for services rendered or to be rendered in any capacity whatsoever

in connection with the matters covered by this Application.                        There is no agreement or

understanding between Archer and any other person other than the shareholders of Archer for the

sharing of compensation to be received for services rendered in these cases.




3
 This amount reflects expenses relating to the Litigation Services, processed by Archer for the Application Period as
of the filing date of this Application. Archer reserves the right to seek reimbursement of expenses that were incurred
during the Application Period, but were not processed by the filing date of this Application, in subsequent interim
applications for compensation and reimbursement of expenses.



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                          SUMMARY OF SERVICES RENDERED

       12.     Archer has performed the Litigation Services on behalf of the Trustee, which have

resulted in the settlement of the Estate Causes of Action, and has performed all necessary

professional services pursuant to the terms of the Supplemental Retention Application and the

Supplemental Retention Order.

       14.     The reasonable value of the Litigation Services rendered by Archer for the Trustee

during the Application Period is $2,607,245.50, as calculated above. That contingency fee

arrangement was previously approved by the Court pursuant to the Supplemental Retention Order

under section 328(a) of the Bankruptcy Code.

       15.     Moreover, Archer has reviewed the requirements of Del. Bankr. Local Rule 2016-

2 and certifies that this Application complies with such Rule, as modified by the Supplemental

Retention Order, which excuses Archer from submitting detailed time records generally required

under section 330 of the Bankruptcy Code.

                                             NOTICE

       16.     Notice of this Application will be provided to (i) the Trustee, (ii) the Office of the

United States Trustee, and (iii) all parties that have requested in these cases to receive notices

pursuant to Bankruptcy Rule 2002.




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       WHEREFORE, Archer respectfully requests that, for the period March 1, 2022 through

September 14, 2023, an interim allowance be made to Archer for compensation in the amount of

$2,607,245.50 and actual and necessary expenses in the amount of $2,397.97 for a total allowance

of $2,609,634.47; that payment of such allowed amounts be authorized on an interim basis; and

for such other and further relief as this Court may deem just and proper.

 Dated: August 23, 2023                             ARCHER & GREINER, P.C.

                                                    /s/ David W. Carickhoff
                                                    David W. Carickhoff, Esq. (No. 3715)
                                                    Bryan J. Hall (No. 6285)
                                                    300 Delaware Avenue, Suite 1100
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                                                    Special Counsel for the Chapter 7 Trustee




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